UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

WCT INC.,

                   Plaintiff,                                    No. 22-cv-6340


             v.
                                        ORDER TO SHOW
                                        CAUSE FOR
REPUBLIC OF INDIA, THE EMBASSY OF INDIA PRELIMINARY
WASHINGTON, D.C., AND MINISTRY OF       INJUNCTION AND
EXTERNAL AFFAIRS THROUGH THE EMBASSY OF TEMPORARY
INDIA, WASHINGTON, D.C.,                RESTRAINING ORDER


                  Defendants.


STATE BANK OF INDIA,
NEW YORK BRANCH,

                  Nominal Defendant.




         Upon the Declaration of Sonia Boveja, dated the 22nd day of July, 2022, and Exhibits

thereto, and the Declaration of Thomas E. Butler, dated the 26th day of July, 2022, and upon the

copy of the Complaint in this action, it is hereby

         ORDERED, that the above named Defendants and Nominal Defendant show cause in this

Court, at Room           , United States Courthouse, 500 Pearl Street, in the City, County and State

of New York, on                        , 2022 at          o'clock in the        noon thereof, or as

soon thereafter as counsel may be heard, why an order should not be issued pursuant to Rule 65 of

the Federal Rules of Civil Procedure enjoining the Defendants during the pendcncy of this action

from: (i) drawing on the certain bank guarantees issued by State Bank of India Bank, New York

Branch on or about March 10, 2020, copies of which are attached hereto, or otherwise utilizing the

collateral supporting the same; and (ii) restraining and enjoining the Nominal Defendant from

29170072.1
accepting or honoring any request to draw on certain bank guarantees issued by the State Bank of

India, New York Branch on or about March 10, 2020, copies of which are attached hereto, or

otherwise utilizing the collateral in support of the same during the pendency of this action; and it

is further

        ORDERED that, sufficient reason having been shown therefore, pending the hearing of

Plaintiffs application for a preliminary injunction, pursuant to Rule 65, Fed. R. Civ. P., (i) the

Defendants are temporarily restrained and enjoined from drawing on the certain bank guarantees

issued by State Bank of India Bank, New York Branch on or about March 10, 2020, copies of

which are attached hereto, or otherwise utilizing the collateral supporting the same; and (ii) the

Nominal Defendant is temporarily restrained and enjoined from accepting or honoring any request

to draw on certain the certain bank guarantees issued by the State Bank of India, New York Branch

on or about March 10, 2020, copies of which are attached hereto, or otherwise utilizing the

collateral in support of the same; and it is further

       ORDERED that service of a copy of this order and the papers in support upon the

Defendant     Republic      of   India   at   judicial-dla@nic.in,    rksrivastava.dla@nic.in,   and

sureshchandra@nic.in.; Defendants the Ministry of External Affairs and the Embassy of India at

amb.washington@mea.gov.in, jscpv®mea.gov.in, and consultant.cpv@mea.gov.in; and Nominal

Defendant at mgrIc.nyb@statebank.com, and rep.washington@statebank.com, on or before

o'clock in the      noon,                       shall be deemed good and sufficient service thereof.

       Dated: New York, New York
              July 26, 2022

       Issued:

                                                        BY THE COURT:




                                                        United States District Judge
                                                  -2-
                                                                                         STATE BANK OF INDIA

t!S[31                                                                                             New York Branch
                                                                                                     460 Park Avenue
                                                                                                 New York, NY 10022
                                                                                    %, 212 521 3200 IA 212 521 3364
                                                                                                       Swift: SOINLISS3
  Our Reference : 77620S100019                                                                  www,sblnewyark.corn
                                                                                              sbi.nytt2statebank.corn
  Date          : March 10, 2020
  Amount        ; USD 774,304.00


 Applicant Name:
 Cox and Kings Global Services Pvt Ltd
 Turner Morrison Building, 1st Floor, 16 Bank Street
 Fort Mumbai, Maharashtra 400001 India

 Beneficiary Name:
 Embassy of India
 2107 Massachusetts Ave NW
 Washington D.C. 20008 USA

 Dear Slr/Madam,

 Please be guided by the Following Clauses:

 (1) We Issue the attached stand by letter of credit In your favor and undertake to honor each draft,
 provided that the documents are drawn in strict compliance with the terms and conditions of this
 standby Letter of Credit.

 Please Note: Under the Foreign Assets Control Regulations (OFAC), We State Bank of India, New York
 are not permitted to conduct a transaction with individuals or entities which are owned or controlled
 by or acting for or on behalf of the Government of certain countries. For a list of such
 Individuals/Entitles/Countries, please visit: http://www.treas.gov/offices/enforcement/OFAC/. Except
 as authorized by the treasury department's Office of Foreign Assets Control, by means of a general
 IS
         PicactitatiOil O' f isiOrlinieritS under this credit Implies
                                                                      at...♦ the exported items conform in every
 respect with all existing United States Government/OFAC regulations and that you are not subject to
 denied order currently affecting export privileges of products under the enclosed credit. For further
 information, please contact the Offices of Foreign Assets Control (202) 622-2500.

 Regards,




 Authorizci Signatory
 For and on behalf of
 Trade Finance Dept.
 (Trade Services)
or$ SBI
                                                                                    STATE BANK OF INDIA
                                                                                             New York Branch
                                                                                             460 Pork Aventi.i
                                                                                           New York, NY 10022
                                                                               (1, 212 521 3200 iA 212 5215364
                                                                                                 Swift: S8iNtJS33
                                                                                           www.sblnewyork.com
                                                                                         sbl.nybeilstatahank.corn
  Date: March 10, 2020
  SBLC Ref Number: 77620SL00019

  Applicant Name:
  Cox and Kings Global Services Pvt Ltd
  Turner Morrison Building, 1' Floor, 16 Bank Street
  Fort Mumbai, Maharashtra 400001 India

 Beneficiary Name:
 Embassy of India
 2107 Massachusetts Ave NW
 Washington D.C. 20008 USA

 Gentlemen:

 In consideration of President of India, represented by Ministry of External Affairs through the Embassy
 of India, Washington D.C. with the address at 2107 Massachusetts AV, NW, Washington DC 20008 USA
 (hereinafter called "The Government") having offered to accept the terms and conditions of the
 proposed agreement between Embassy or India, Washington D.C., USA and Cox & Kings Global Services"
 Pvt. Ltd. of company: registered under the Companies Act, 1956 having its registered and corporate
 office at Turner Morrison Building, 1st Floor, 16, Bank Street, Fort, Mumbai, Maharashtra - 400001,
 India, (hereinafter called "The said contractors(s) for the work" Outsourcing Of Visa services"
 (hereinafter called "the said agreement") having agreed to production of an irrevocable Bank Guarantee
 for USD 774,304/- (US dollar seven hundred seventy four thousand and three hundred four only) as a
 security/guarantee from the contractor(s) for compliance of his obligations in accordance with the terms
 and conditions in the said agreement.

 1. We State Bank of India, 460 Park Avenue, New York 10022 USA (hereinafter • referred as "the Bank"
 which expression shall unless repugnant to the subject or context thereof be deemed to include its
 successors and assigns) hereby undertake to pay to the Government a performance Bank guarantee
 amounting to USD 774,304/- (US dollar seven hundred seventy four thousand and three hundred four
 only) an written demand by the Government.

 2. The Bank do hereby undertake to pay the amounts due and payable under this guarantee without any
 demur, merely on a written demand from the Government and served upon the bank on or before 30th
 June 2022 (the expiry date including claim period) stating that the amount claimed is required to meet
 the recoveries due or likely to be due from the same contractor(s). Any such written demand made and
 served upon the Bank on or before 30th June 2022 (the expiry date including claim period) shall be
 conclusive as regards the amount due and payable by the Bank under this Guarantee. However, our
 liability under this Guarantee shall be restricted to an amount not exceeding USD 774,304/- (US dollar
 seven hundred seventy-four thousand and three hundred four only).
 Date: March 10, 2020
 SBLC Ref Number: 77620S100019

 3. We, the said Bank, further undertake to pay to the Government any money amount not exceeding
 USD 774,304/- (US dollar seven hundred seventy four thousand and three hundred four only ), so
 demanded notwithstanding any dispute or disputes raised by the contractor(s) in any suit or proceeding
 pending before any Court or Tribunal relating thereof, our liability under this present being absolute and
 unequivocal. The payment so made by us under this bond shall be a valid discharge of our liability for
 payment there under, and the contractor(s) shall have no claim against us for making such payment.

4. We the said Bank further agree that the Guarantee herein contained shall remain in full force and
effect during the period that would be taken for the performance of the said agreement and it shall
continue to be enforceable till all the dues of the Government under or by virtue of the said agreement
have been fully paid, and its claims satisfied or discharged, on behalf of the Government, certifies that
the terms and conditions of the said agreement have been fully and properly carried out by the said
contractor(s), and accordingly discharges this guarantee or till 30th June 2022 (the expiry date including
claim period).

5. We the said bank further agree with the Government that the Government shall have the fullest
liberty without our consent, and without effecting in any manner our obligations hereunder, to vary any
of the terms and conditions Of the said agreement or to extend time of performance by the said
contractor(s) from time to time or to postpone for any time or from time to time any of the powers
exercisable by the Government against the said contractor(s), and to 'forbear or enforce any of the
terms and conditions relating to the said agreement, and we shall not be relieved from our liability by
reason of any such variation or extension being granted to the said contractor(s) or 'Or any forbearance,
act of omission on the part of the Government or any indulgence by the Government to the said
contractor(s) or by any such matter or thing whatsoever which under the law relating to sureties would,
but for this provision, have effect of so relieving us.

6. This guarantee will not be discharged due to the change in the constitution of the Bank or the
contractor(s).

7. We the said Bank lastly undertake not to revoke this Guarantee during its currency except with the
previous consent of the Government In writing.

8. This guarantee shall be valid up to 30th June 2022 unless extended on demand by the Government.
Notwithstanding anything mentioned above, our liability against this Guarantee is restricted to USD
774,304/- (US dollar seven hundred seventy four thousand and three hundred four only) and unless a
claim in writing is lodged with us on or before 30th June 2022 (expiry date including claim period) of
this Guarantee all our liabilities under this Guarantee shall stand discharged.
Date: March 10, 2020
SBLC Ref Number: 77620S100019

Notwithstanding anything contained hereinbefore-

i The Bank's liability under this guarantee shall not exceed USD 774,304/- (US dollar seven hundred
seventy four thousand and three hundred four only)

ii This guarantee shall be valid up to 30th June 2022 (the expiry date including claim period)

iii We are liable to pay the guaranteed amount or any part thereof under this Bank Guarantee only and
only if you serve upon us a written claim or demand on or before 30th June 2022 (the expiry date
including claim period)

iv Thereafter the Bank shall stand discharged from all Its liability under this Guarantee and all your rights
under this Guarantee shall stand extinguished, irrespective of the fact whether the Guarantee in original
Is returned back to us or not.




For State Bank of India, New York                                   For State Bank of India, New York

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Vishal BIndroo (manager, Trade)                                      K Rajalakshml (VP & head, Trade)
                                                                                   STATE BANK OF INDIA

OSI31                                                                                       New York Branch
                                                                                              460 Park Avenue
                                                                                          New York. NY 10022
                                                                                212 521 3200 A 212 52133E4
                                                                                               Swift: SBINUS33
  Our Reference : 7762051.00018                                                          wv,-N.zblnewyork.com
                                                                                       sbl.nybiBstatabark.com
  Date          : March 10, 2020
  Amount        : USD 2,751,467.00


 Applicant Name:
 Cox and Kings Global Services Pvt Ltd
 Turner Morrison Building, 1" Floor, 16 Bank Street
 Fort Mumbai, Maharashtra 400001 India

 Beneficiary Name:
 Embassy of India
 2107 Massachusetts Ave NW
 Washington D.C. 20008 USA

 Dear Sir/Madam,

 Please be guided by the Following Clauses:

 (1) We Issue the attached stand by letter of credit In your favor and undertake to honor each draft,
 provided that the documents are drawn in strict compliance with the terms and conditions of this
 standby letter of Credit.

 Please Note: Under the Foreign Assets Control Regulations (OFAC), We State Bank of India, New York
 are not permitted to conduct a transaction with individuals or entitles which are owned or controlled
 by or acting for or on behalf of the Government of certain countries. For a list of such
 Individuals/Entitles/Countries, please visit: htto://www.treas.govioffices/enforcement/OFACi.
 Except as authorized by the treasury department's Office of Foreign Assets Control, by means of a
 general license. Presentation of documents under this credit implies that the exported items conform
 In every respect with all existing United States Government/OFAC regulations and that you are not
 subject to denied order currently affecting export privileges of products under the enclosed credit. For
 further information, please contact the Offices of Foreign Assets Control (202) 622-2500.

 Regards,

      ,      uo

 AuthOrlied Signatory
 For and on behalf of
 Trade Finance Dept.
 (Trade Services)
                                                                                     STATE BANK OF INDIA

0 SBI
  Date: March 10, 2020
                                                                                              New York Branch
                                                                                                 460 Park Avenue
                                                                                             New York, NY 10022
                                                                                % 212 5213200 b 212 5213364
  SBLC Ref Number: 77620SL00018                                                                   Swift: SBINOS33
                                                                                        Ii9 www.sbinawyork.carr
                                                                                          sblAyibMstatebank.cort,
  Applicant Name:
  Cox and Kings Glob-al SerVices Rlit Ltd
  Turner Morrison Building, 15` Floor, 16 Bank Street
  Fort Mumbai, Maharashtra 400001 India

  Beneficiary Name:
  Embassy of India
  2107 Massachusetts Ave NW
  Washington D.C. 20008 USA

  Gentlemen:


 Cox and Kings Global Services Pvt. Ltd., of company registered under the Companies Act, 1956 having its
 registered and corporate office at Turner Morrison Building, 1st Floor, 16, Bank Street, Fort, Mumbai,
 Maharashtra - 400001, India, hereinafter referred to as our constituent", Which expression, unless
 excluded or repugnant to the context or meaning thereof, includes its successors and assigns), agreed to
 enter into a Contract dated 29th April 2014 (Herein after, referred to as `contract') with the Embassy of
 India, Washington D.C., USA as detailed in the said contract.

 We are aware of the fact that as per the terms of the Contract, Cox and Kings Global Services Pvt. Ltd is
 required to furnish an unconditional and irrevocable Bank Guarantee for the termination of contract
 without giving notice period as stipulated by the contract, for a sum equal to US 2,751,467.00 (US dollar
 two million seven hundred and fifty one thousand four hundred sixty seven only) for the purpose as
 mentioned at Clause 1.4 (vii) b. the contract and guarantee the due by our constituent as per the
 Contract and do agree and undertake to pay any all amount not exceeding US 2,751,467.00 (US dollar
 two million seven hundred and fifty one thousand four hundred sixty seven only) due and payable under
 this bank guarantee, as security against breach / default of the said Contract by our Constituent.

 In consideration of the fact that our constituent is our valued customer and the fact that he has entered
 the said Contract with you, we State Bank of India , 460 Park Avenue, New York 10022 USA hereinafter
 referred to as "the Bank / Guarantor" which expression shall unless repugnant to the subject or context
 thereof be deemed to include its successors and assigns) have agreed to issue this Bank Guarantee.

 In the event of our constituent committing any breach/default of the said Contract, and which has not
 been rectified by him, we hereby agree to pay you forthwith on written demand such sum/s not exceeding
 the sum equal to US 2,751,467.00 (US dollar two million seven hundred and fifty one thousand four
 hundred sixty seven only) for the purpose as mentioned at Clause 1.4 (vii) b. or the contract without any
 demur. However, in any case the bank shall be liable only and only if the written claim / is served upon
 the bank on or before 30th June 2022 and not otherwise.

 Notwithstanding anything to the contrary, as contained in the said Contract, we agree that your decision
 as to whether our constituent has made any such default(s) / breach(es),as aforesaid and the amount or
 amounts to which you are entitled by reasons thereof, subject to the terms and conditions of the said
 Contract, will be binding on us and we shall not be entitled to ask you to establish your claim or claims
 under this Bank Guarantee, but will pay the same forthwith on your demand without any protest or
 demur.
 Date: March 10, 2020
 SBLC Ref Number: 7762051.00018

 This Bank Guarantee shall continue and hold good till date subject to the terms and conditions in the said
 Contract or tiii 30th June 2022 whichever is earlier.

 We bind ourselves to pay the above said amount at any point of time commencing from the date of the
 said Contract to date 30th June 2022 as per said Contract.

 We further agree that the termination of the said Agreement, for reasons solely attributable to our
 constituent, virtually empowers you to demand for the payment of the above said amount under this
 guarantee and we would honor the same without demur.

We hereby expressly waive all our rights:

(i) Requiring beneficiary to pursue legal remedies against Cox and Kings Global Services Pvt. Ltd for notice
of acceptance hereof any action taken or omitted in reliance hereon, of any defaults under the Contract
and any resentment, demand, protest or any notice of any kind.

We the Guarantor, as primary obligor and not merely Surety or Guarantor of collection, do hereby
Irrevocably and unconditionally give our guarantee and undertake to pay any amount you may claim (by
one or more claims) up to but not exceeding the amount mentioned aforesaid during the period from and
Including the date of Issue of this guarantee through the period.

We specifically confirm that no proof of any amount due to you under the Contract is required to be
provided to us in connection with any demand by you for payment under this guarantee other than your
written demand.

Any notice by way of demand or otherwise hereunder may be sent by special courier, telex, fax, registered
noct or other alartrrinif rnPfs!n to our AddrBcc, 25 an Pfnreca!ri and if cent by pmt, it chat! he deemed to
have been given to us after the expiry of 48 hours when the same has been posted.

If it is necessary to extend this guarantee on account of any reason whatsoever, we undertake to extend
the period of this guarantee on the request of our constituent under intimation to you.

This Bank Guarantee shall not be affected by any change in the constitution of our constituent nor shall It
be affected by any change in our constitution or by any amalgamation or absorption thereof or therewith
or reconstruction or winding up, but will ensure to the benefit of you and be available to and be
enforceable by you during the period from and including the date of issue of this guarantee through the
period.

Notwithstanding anything contained herein above, our liability under this Bank Guarantee is restricted to
a sum equal to US 2,751,467.00 (US dollar two million seven hundred and fifty-one thousand four hundred
sixty seven only) for purpose as mentioned at Clause 1.4 (vii) b. or the contract and shall continue to exist,
subject to the terms and conditions contained herein, unless a written claim is lodged on us on or before
the aforesaid date of expiry of this guarantee vie 30th June 2022.
 Date: March 10, 2020
 SBLC Ref Number: 77620SL00018

 We hereby confirm that we have the Power/s to issue this Guarantee In your favor under the Bank:

 Memorandum and Articles of Association/Constitution of our bank and the undersigned is/are the
 recipient of authority by express delegation of power/s and has/have full power/s to execute this
 guarantee under the power of Attorney issued by the bank In your favor.

 We further agree that the exercise of any of your rights against our constituent to enforce or forbear to
 enforce or any other indulgence or facility, extended to our constituent to carry out the contractual
 obligations as per the said Contract, would not release our liability under this guarantee and that your
 right against us shall remain in full force and effect, Notwithstanding any arrangement that may be
 entered into between you and our Constituent, during the entire currency of this guarantee.

Any payment made hereunder shall be free and clear of and without deduction for or on account of taxes,
levies, imports, charges, duties, fees, deductions or withholding of any nature imposts.

This Bank Guarantee must be returned to the bank upon its expiry. If the bank does not receive the Bank
Guarantee within the above-mentioned period, subject to the terms and conditions contained herein, it
shall be deemed to be automatically cancelled.

This guarantee shall be governed by and construed in accordance with the Indian Laws and we hereby
submit to the exclusive jurisdiction of courts of Justice in India for the purpose of any suit or action or
other proceedings arising out of this guarantee or the subject-matter hereof brought by you may not be
enforce in or by such count.

Notwithstanding anything contained hereinabove: -

a) Our liability under this Guarantee shall not exceed for a sum equal to USD 2,751,467.00 (US dollar two
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mentioned at Clause 1.4 (vii) b. of the contract.

b) This Guarantee shall be valid till 30th June 2022 (the expiry date including claim period).

c) We are liable to pay guaranteed amount or any part thereof under this Guarantee only, and only if
you serve upon a written claim or demand on or before 30th June 2022 (the expiry date including claim
period).

d) Thereafter all your rights under this guarantee shall be forfeited and we shall be released from all our
liabilities.

For State Bani-, of India, New York                                                                              For State Bank of India, New York

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        ' 1V
           1
Vishal B)n.droo (Manager, Trade)                                                                                K Rajalakshml (VP & Head, Trade)
                                                                                  STATE BANK OF INDIA

OSBI                                                                                       New York Branch
                                                                                             460 Park Avenue
                                                                                          Now York, NY 10022
                                                                                212 521 3200 A 212 5213364
                                                                                              Swift: SB1NUS33
  Our Reference ; 77620S100020                                                        4;) www.sbinewyork.corn
                                                                                        sbLnybMstAtebank.com
  Date          ; March 10, 2020
  Amount        : USD 225,000.00


 Applicant Name:
 Cox and Kings Global Services Pvt Ltd
 Turner Morrison Building, 1St Floor, 16 Bank Street
 Fort Mumbai, Maharashtra 400001 India

 Beneficiary Name:
 Embassy of India
 2107 Massachusetts Ave NW
 Washington D.C. 20008 USA

 Dear Sir/Madam,

 Please be guided by the Following Clauses:

 (1) We Issue the attached stand by letter of credit In your favor and undertake to honor each draft,
 provided that the documents are drawn in strict compliance with the terms and conditions of this
 standby Letter of Credit.

 Please Note: Under the Foreign Assets Control Regulations (OFAC), We State Bank of India,
 New York are not permitted to conduct a transaction with individuals or entitles which arc owned or
 controlled by or acting for or on behalf of the Government of certain countries. For a Ilst of such
 Individuals/Entities/Countries, please visit: http://www.treas.gov/offices/enforcement/OFAC/
 Except as authorized by the treasury department's Office of Foreign Assets Control, by means of a
 general license. Presentation of documents under this credit Implies that the exported items conform
 in every respect with all existing United States Government/OFAC regulations and that you are not
 subject to denied order currently affecting export privileges of products under the enclosed credit. For
 further information, please contact the Offices of Foreign Assets Control (202) 622-2500.

 Regards,



 Autho tired Signatory
 For and on behalf of
 Trade Finance Dept.
 (Trade Services)
   SBI
                                                                                     STATE BANK OF INDIA
                                                                                             New York Branch
                                                                                               460 Park Avenue
                                                                                            Now York, NY 10022
                                                                                %. 212 5213200   212 5213364
 Date: March 10, 2020                                                                           Swift: SBINUS3i
 SBLC Ref Number: 176205100020                                                             www.sbInewyork.corn
                                                                                       8 sanybabstatebank=rn
 Applicant Name:
 Cox and Kings Global Services Pvt Ltd
 Turner Morrison Building, 1st Floor, 16 Bank Street
 Fort Mumbai, Maharashtra 400001 India

 Beneficiary Name:
 Embassy of India
 2107 Massachusetts Ave NW
 Washington D.C. 20008 USA

Gentlemen:

Cox and Kings Global Services Pvt. Ltd., of company registered under the Companies Act, 1956 having Its
registered and corporate office at Turner Morrison Building, 1st Floor, 16, Bank Street, Fort, Mumbai,
Maharashtra - 400001, India, hereinafter referred to as our constituent", Which expression, unless
excluded or repugnant to tt.,e context or meaning thereof, includes its successors assistants), agreed to
enter into a Contract dated 29th April, 2014 (Herein after, referred to as; contract") with the Embassy of
India. Washington D.C., CSA as detailed in the said contract.

We are aware of the fact that as per the terms of the Contract, Cox and Kings Global Services Pvt. Ltd Is
required to furnish an unconditional and Irrevocable Bank Guarantee amounting to USD 225,000 (US
dollars two hundred twenty five thousand only) for the government funds held by it temporarily, after
collection, and for the safety of documents. This guarantees the due by our constituent as per the Contract
and do hereby agree and undertake to pay any and all amount due and payable under this bank guarantee,
as security against breach / default of the said Contract by our Constituent.

Consideration of the fact that our constituent is our valued customer and the fact that he has entered into
the said Contract with you. we State Bank of India, 460 Park Avenue, New York 10022 USA (hereinafter
referred to as "the Bank / Guarantor" which expression shall unless repugnant to the subject or context
thereof be deemed to include its successors and assigns) have agreed issue this Bank Guarantee.

Therefore, The Bank hereby unconditionally and irrevocably guarantee you as under:

In the event of our constituent committing any breach/default of the said Contract, and which has not
been rectified by him, we hereby agree to pay you forthwith on written demand such sum/s not exceeding
the sum of USD 225,000/- (US dollars two hundred twenty five thousand only) without any demur.
However, in any case the bank shall be liable only and only if the written claim / demand is served upon
the bank on or before 30th June 2022 (the expiry date including claim period) and not otherwise.
 Date: March 10, 2020
 SBLC Ref Number; 77620SL00020

 Notwithstanding anything to the contrary, as contained in the said Contract, we agree that your Decision
 as to whether our constituent has made and such default(s) / breach(es), as aforesaid and the amount or
 amounts to which you are entitled by reasons thereof. l'objeut to the ter Mb drld Lunditions on the said
 Contract, will be binding on us and we shall not be entitled to ask you to establish your claim or claims
 under this Bank Guarantee, but will pay the same forthwith on your demand without any protest or
 demur.

 This Bank Guarantee shall continue and hold good till date subject to the terms and conditions in the said
 Contract till 30th June 2022 (the expiry date including claim period) whichever is earlier.

We bind ourselves to pay the above said amount at any point of time commencing from the date of the
said Contract to date 30th June 2022 (the expiry date including claim period) as per said Contract.

We further agree that the termination of the said Agreement, for reasons solely attributable to our
constituent, virtually empowers you to demand for the payment of the above said amount under this
guarantee and we would honor the same without demur.

We hereby expressly waive all our rights:

(i) Requiring beneficiary to pursue legal remedies against Cox and Kings Global Services Pvt. Ltd for notice
of acceptance hereof any action taken or omitted in reliance hereon, of any defaults under the Contract
and any resentment, demand, protest or any notice of any kind.

We the Guarantor, as primary obligor and not merely Surety or Guarantor of collection, do hereby
irrevocably and unconditionally give our guarantee and undertake to pay any amount you may claim (by
one or more claims) up to but not exceeding the amount mentioned aforesaid during the period from and
including the date of issue of this guarantee through the period.

We specifically confirm that no proof of any amount due to you under the Contract is required to be
provided to us in connection with any demand by you for payment under this guarantee other than your
written demand.

Any notice by way of demand or otherwise hereunder may be sent by special courier, telex, fax, registered
post or other electronic media to our address, as an aforesaid and if sent by post, it shall be deemed to
have been given to us after the expiry of 48 hours when the same has been posted.

If it is necessary to extend this guarantee on account of any reason whatsoever, we undertake to extend
the period of this guarantee on the request of our constituent under intimation to you.

This Bank Guarantee shall not be affected by any change in the constitution of our constituent nor shall it
be affected by any change In our constitution or by any amalgamation or absorption thereof or therewith
or reconstruction or winding up, but will ensure to the benefit of you and be available to and be
enforceable by you during the period from and including the date of issue of this guarantee through the
period.
 Date: March 10, 2020
 SBLC Ref Number: 77620SL00020

 Notwithstanding anything contained herein above, our liability under this Bank Guarantee is restricted to
 USD 225,000/- (US dollars two hundred twenty five thousand only) and shall continue to exist, subject to
 the terms and conditions contained herein, unless a written claim is lodged on us on or before the
 aforesaid date of expiry of this guarantee vie on or before 30th June 2022 (the expiry date including claim
 period).

We hereby confirm that we have the Power/s to issue this Guarantee in your favor under the
Memorandum and Articles of Association/Constitution of our bank and the undersigned is/are the
recipient of authority by express delegation of power/s and has/have full power/s to execute this
guarantee under the power of Attorney Issued by the bank in your favor.

We further agree that the exercise of any of your rights against our constituent to enforce or forbear to
enforce or any other indulgence or facility, extended to our constituent to carry out the contractual
obligations as per the said Contract, would not release our liability under this guarantee and that your
right against us shall remain in full force and effect, Notwithstanding any arrangement that may be
entered into between you and our Constituent, during the entire currency of this guarantee .

Any payment made hereunder shall be free and clear of and without deduction for or on account of taxes,
levies, imports, charges, duties, fees, deductions or withholding of any nature Imposts.

This Bank Guarantee must be returned to the bank upon its expiry. If the bank does not receive the Bank
Guarantee within the above-mentioned period, subject to the terms and conditions contained herein, it
shall be deemed to be automatically cancelled.

This guarantee shall be governed by and construed in accordance with the Indian Laws and we hereby
submit to the exclusive jurisdiction of courts of Justice in India for the purpose of any suit or action or
other proceedings arising out of this guarantee or the subject-matter hereof brought by you may not be
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Notwithstanding anything contained hereinabove: -

a) Our liability under this Guarantee shall not exceed USD 443,304/- (US dollars four hundred for three
thousand and three hundred four only).
b) This Guarantee shall be valid until 30th June 2022 (the expiry date including claim period).
c) We are liable to pay guaranteed amount or any part thereof under this Guarantee only and only if you
serve upon us a written claim or demand on or before 30th June 2022 (the expiry date including claim
period).
d) Thereafter all your rights under this guarantee shall be forfeited and we shall be released from all our
liabilities.

For State Barv, of India, New York                                For State Bank of India, New York



Vishal Bind vio (Manager, Trade)                                   K Rajalakshmi (VP & head, Trade)
